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 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10

11   SUSAN GAGETTA and TRACIE GOMEZ, on                  Case No. 3:22-cv-03757-WHO
     behalf of themselves and all others similarly
12   situated,
                                                         PLAINTIFFS’ OPPOSITION TO
13                            Plaintiffs,                WALMART INC.’S MOTION TO
                                                         DISMISS
14          v.
15                                                       Date: December 7, 2022
     WALMART INC.,
                                                         Time: 2:00 p.m.
16                                                       Courtroom: 2
                             Defendant.                  Judge: Hon. William H. Orrick III
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 1   I.      INTRODUCTION

 2           Defendant Walmart, Inc. (“Defendant” or “Walmart”) sells herbs and spices under its Great

 3   Value label, including Great Value’s Basil Leaves, Chili Powder, Ground Cumin, Organic Ground

 4   Ginger, and Organic Paprika (collectively, the “Products”). Class Action Complaint (“CAC”), ¶1.

 5   A November 2021 report by Consumer Reports states that the offending herbs and spices, including

 6   the Products, “had high enough levels of arsenic, lead, and cadmium combined, on average, to pose

 7   a health concern for children when regularly consumed in typical servicing sizes. Most raise concern

 8   for adults, too.” Id. at ¶ 2. But Walmart fails to disclose that the Products contain (or risk containing)

 9   lead, arsenic, and cadmium (collectively “Heavy Metals”). Approximately 94% of consumers have

10   indicated in a consumer survey that the presence or risk of even a small amount of heavy metals in

11   the spices would either be important or very important to their purchasing decisions. Id., ¶ 28.

12   Nonetheless, and despite its knowledge of the existence of these Heavy Metals in its Products,

13   Defendant fails to alert consumers that the Products contain (or risk containing) Heavy Metals.

14           Consumers of Defendant’s Products are at risk because of the presence of the Heavy Metals.

15   Specifically, “[n]o amount of lead is known to be safe,” while “[a]rsenic is ranked first among

16   toxicants posing a significant potential threat to human health based on known or suspected toxicity,”

17   and “[a]ny cadmium should be avoided.” Id., ¶¶ 13-15. The reason for these determinations is

18   obvious: lead can affect almost every organ and system in the body, inhibiting neurological function

19   and causing anemia, kidney damage, seizures, and in extreme cases, even death. Id., ¶ 13. Arsenic

20   is linked to cardiovascular disease and bladder, lung, liver, and skin cancer, and strokes and diabetes.

21   Id., ¶ 14. Cadmium may likewise lead to damage to kidneys, lungs, and bones. Id., ¶ 15.

22           Plaintiffs’ claims are adequately pled, including exhaustive factual allegations and properly

23   drawn legal claims. Taking all of the allegations of the complaint as true, and setting aside

24   Defendant’s invitation to resolve disputed factual issues, the Court should deny the motion to dismiss

25   in its entirety.

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 1   II.      LEGAL STANDARDS

 2            A.     Federal Rule of Civil Procedure 12(b)(1)

 3            When deciding a Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction,

 4   courts “take the allegations in the plaintiff’s complaint as true.” Wolfe v. Strankman, 392 F.3d 358,

 5   362 (9th Cir. 2004). Dismissal is only appropriate “if the complaint, considered in its entirety, on its

 6   face fails to allege facts sufficient to establish subject matter jurisdiction.” In re Dynamic Random

 7   Access Memory (DRAM) Antitrust Litig., 546 F.3d 981, 984-85 (9th Cir. 2008).

 8            B.     Federal Rule of Civil Procedure 12(b)(6)

 9            In ruling on a Rule 12(b)(6) motion to dismiss, courts “accept factual allegations in the

10   complaint as true and construe the pleadings in the light most favorable to the nonmoving party.”

11   Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir. 2008). “A claim may

12   be dismissed only if it appears beyond doubt that the plaintiff can prove no set of facts in support of

13   his claim which would entitle him to relief.” Cook v. Brewer, 637 F.3d 1002, 1004 (9th Cir. 2011)

14   (quotations and citation omitted). Factual disputes generally cannot be resolved on a motion under

15   Rule 12(b)(6). “The motion [to dismiss] is not a procedure for resolving a contest between the parties

16   about the facts or the substantive merits of the plaintiff's case.” Williams v. Gerber Prod. Co., 552

17   F.3d 934, 938 (9th Cir. 2008). If “the complaint’s factual allegations, together with all reasonable

18   inferences, state a plausible claim for relief,” the motion for dismissal must be denied. U.S. ex rel.

19   Cafasso v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1054 (9th Cir. 2011). “A claim has facial

20   plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

21   inference that the defendant is liable for the misconduct alleged.” Scilex Pharms. Inc. v. Sanofi-

22   Aventis U.S. LLC, 552 F. Supp. 3d 901, 909–10 (N.D. Cal. 2021).

23            C.     Federal Rule of Civil Procedure 9(b)

24            Under Rule 9(b), fraud allegations must “be specific enough to give defendants notice of the

25   particular misconduct…” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).

26   Knowledge and state of mind “may be alleged generally.” Fed. R. Civ. P. 9(b). As to facts within

27   Defendant’s knowledge, Rule 9(b) standards are “relaxed” prior to discovery. In re Gupta Corp.

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 1   Sec. Litig., 900 F. Supp. 1217, 1228 (N.D. Cal. 1994). Similarly, for fraudulent omissions claims,

 2   Rule 9(b) is relaxed because “a plaintiff cannot plead either the specific time of [an] omission or the

 3   place, as he is not alleging an act, but a failure to act.” Washington v. Baenziger, 673 F. Supp. 1478,

 4   1482 (N.D. Cal. 1987).

 5   III.   ARGUMENT

 6          A.      Plaintiffs Have Standing to Pursue Their Claims

 7          Defendant first argues that Plaintiffs lack standing because “[t]he complaint is completely

 8   devoid of any allegations of actual injury suffered by the plaintiffs” as “Plaintiffs have not even

 9   alleged the products they bought contain any heavy metals at all … [nor] that they consumed the

10   spices they purportedly purchased.” MTD at 9. Defendant’s view of what Article III standing

11   requires is wrong, for several reasons.

12          First, Defendant’s argument conflates the question of whether Plaintiffs have standing with

13   the question of whether Plaintiffs’ claims have merit and should thus be rejected. See Zeiger v.

14   WellPet LLC, 304 F. Supp. 3d 837, 846 (N.D. Cal. 2018) (Orrick, J.) (“Defendants argue that

15   plaintiffs cannot show any cognizable injury, because they cannot establish that defendants’ Products

16   contain unsafe amounts of arsenic, lead, or BPA. Defendant’s arguments largely go to the merits of

17   plaintiffs’ claims, and not their standing to bring those claims.”).

18          Defendant is essentially arguing with Plaintiffs’ economic injury damage theory, which the

19   complaint sets forth: “Plaintiffs would not have purchased the Products at all or would have paid less

20   for them if they had known of Defendant’s omissions regarding that the Products contain (or risk

21   containing) toxic Heavy Metals. Plaintiffs and the California Subclass members have all paid money

22   for the Products. However, Plaintiffs and the California Subclass members did not obtain the full

23   value or any value of the advertised products due to Defendant’s omissions regarding the toxic Heavy

24   Metals. Accordingly, Plaintiffs and the California Subclass members have suffered injury in fact

25   and lost money or property as a direct result of Defendant’s omissions.” CAC, ¶83.

26          Defendant’s argument, however, has been repeatedly rejected. Courts in this District have

27   not only accepted Plaintiffs’ theory of economic harm, but have also specifically determined that

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 1   plaintiffs who purchase food products suffer an injury requisite for Article III when those foods

 2   contain heavy metals. See Kochar, et al. v. Walmart, Inc., No. 3:21-cv-02343-JD, ECF No. 51, p. 1

 3   (N.D. Cal. Filed April 25, 2022) (“Named plaintiffs have Article III standing to sue because they

 4   plausibly alleged the economic injury of paying a premium for baby food advertised as healthy when

 5   it is said to have contained excessive levels of non-naturally occurring heavy metals.”); see also,

 6   Maisel v. S.C. Johnson & Son, Inc., 2021 WL 1788397, at *3 (N.D. Cal. May 5, 2021) (quoting Maya

 7   v. Centex Corp., 658 F.3d 1060, 1069 (9th Cir. 2011)) (“A ‘quintessential injury-in-fact’ occurs when

 8   the ‘plaintiffs spent money that, absent defendants’ actions, they would not have spent.’

 9   Additionally, if plaintiffs ‘state that they would not have purchased [a product] had there been a

10   proper disclosure’ of the relevant facts, that is sufficient to plead causation.’ . . . . Thus, because

11   Maisel alleges she purchased the Ecover dishwasher tablets and would not have if she knew they

12   were mislabeled, the Court finds she has Article III standing to bring this case.”); Zeiger, 304 F.

13   Supp. 3d at 846 (holding that plaintiffs alleged a cognizable injury for purposes of standing because

14   their claims were “premised on their allegation that were it not for defendant’s labeling, which omit

15   the presence of lead, arsenic, and BPA in their [contaminated dog food products], plaintiffs would

16   not have purchased and spent money on their Products.”).

17          Second, Defendant’s citation of Pels v. Keurig Dr. Pepper, Inc., No. 19-CV-03052-SI, 2019

18   WL 5813422 (N.D. Cal. Nov. 7, 2019) and its repeated insistence that Plaintiffs have not alleged the

19   products they purchased contained Heavy Metals, seems to imply that Plaintiffs were required to test

20   their own Products to have standing. Such a position has no support in the case law and has been

21   roundly rejected by this Court amongst others. See Rice-Sherman v. Big Heart Pet Brands, Inc.,

22   2020 WL 1245130, at *7 (N.D. Cal. Mar. 16, 2020) (Orrick, J.) (quoting Lujan v. Defs. of Wildlife,

23   504 U.S. 555, 561 (1992) (“Big Heart . . . argue[s] that plaintiffs are required to link the independent

24   testing (that allegedly confirms that the representations on Nature’s Recipe Food are false) to the

25   Nature’s Recipe Food products they purchased . . . . That argument is not persuasive . . . . In assessing

26   standing on a motion to dismiss, the court must ‘presume that [] general allegations,’ like the ones

27   alleged here, ‘embrace those specific facts that are necessary to support the claim.’”); see also Hough

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 1   v. Big Heart Pet Brands, Inc., 2020 WL 7227198, at *2–3 (N.D. Cal. Dec. 8, 2020) (same); Berke v.

 2   Whole Foods Mkt., Inc., 2020 WL 5802370, at *7 (C.D. Cal. Sept. 18, 2020) (“Defendant argues that

 3   because there is no allegation as to how much arsenic was in the Starkey Water that Plaintiff himself

 4   bought, his alleged injury is speculative . . . . The Court disagrees.”); Mancuso v. RFA Brands, LLC,

 5   454 F. Supp. 3d 197, 202 (W.D.N.Y. 2020) (“Defendant argues that because no testing was

 6   performed on plaintiff’s own power bank and because plaintiff’s claimed injury relied on speculative

 7   extrapolation of a single set of test results, plaintiff has failed to allege a plausible injury in fact . . .

 8   At the pleading stage, however, more specific allegations are not necessary for Article III standing.”).

 9           Indeed, some courts have even determined that no testing at all is required either by the

10   plaintiff or a third party to assert analogous claims. See, e.g., Fine v. ConAgra Foods, Inc., 2010 WL

11   11595914, at *1 (C.D. Cal. June 29, 2010) (“While Plaintiff herself does not have direct knowledge

12   of the presence of diacetyl in Defendant’s products, Plaintiff relies on the work and statements of

13   several health experts and alleges that ‘[k]nown substitutes for diacetyl still contain molecules of

14   diacetyl.’ At this stage of the litigation, the Court must view all material allegations in the Complaint

15   as true and thus accepts Plaintiff’s contention regarding the presence of diacetyl in Defendant’s

16   products.”).

17           Third, Defendant’s principal case on this question, Herrington v. Johnson & Johnson

18   Consumer Cos., Inc., is facially distinguishable. See MTD at 5 (citing 2010 WL 3448531, at *5

19   (N.D. Cal. Sept. 1, 2010)). There, the plaintiffs alleged that “1,4-dioxane and formaldehyde are

20   probable human carcinogens” not that they “are in fact carcinogenic for humans.” 2010 WL

21   3448531, at *3 (emphasis added). As the court determined, the thrust of the plaintiffs’ allegations

22   was merely that the “ingredients [had] not been shown to be safe.” Id., at *1. Here, by contrast,

23   Plaintiffs support their allegations with experts from Consumer Reports who have determined that

24   the Products “had high enough levels of arsenic, lead, and cadmium combined, on average, to pose

25   a health concern for children when regularly consumed in typical serving sizes. Most raised concerns

26   for adults, too.” CAC, ¶ 2. Consumer Reports presented its results, organizing each spice by type

27   as well as by brand. See Kiser Declaration, Ex. A, 12-19. Each of the Products Plaintiffs identify is

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 1   included on that list. See id.1 As Plaintiffs allege, these results are concerning because “[e]ven

 2   modest amounts of heavy metals can increase the risk of cancer, cognitive and reproductive

 3   problems, and other adverse conditions.” CAC, ¶ 12.

 4          Plaintiffs then cite to the Centers for Disease Control and Prevention, noting that “[e]xposure

 5   to lead may cause anemia, weakness, and kidney and brain damage.” Id., ¶ 13. Plaintiffs also cite

 6   to academic articles hosted by the National Institute of Health, showing that “[a]rsenic can . . . cause

 7   bladder, lung, liver, and skin cancer, and strokes and diabetes.” Id., ¶ 14. Plaintiffs further include

 8   material from the Occupational Safety & Health Administration which has determined that cadmium

 9   is “known to cause cancer and targets the body’s cardiovascular, renal, gastrointestinal, neurological,

10   reproductive, and respiratory systems.” Id., ¶ 15. Accordingly, it is not simply probable that these

11   metals cause harm, or that they merely have not been shown to be safe. Rather, the metals in

12   Defendant’s spices have definitively been proven by reputable sources to cause harm to human

13   health. See id., ¶¶ 12-15. Consequently, Plaintiffs allege that “[h]ad [they] known the truth—i.e.,

14   that the Products contained Heavy Metals, rendering them unsafe for consumption by children and

15   adults—they would not have been willing to purchase them or would have paid less for them.” Id.,

16   ¶¶ 50, 5-18W.

17          Fourth, Plaintiffs’ allegations in this regard are well supported by the case law. In In re

18   Plum, for example, the plaintiffs brought an action against “defendants Plum, PBC, and Plum,

19   Inc., . . . . alleging that Plum failed to disclose that its baby food products contain (or have a risk of

20   containing) heavy metals (namely, arsenic, cadmium, lead, and mercury), and perchlorate.” Case

21   No. 4:21-CV-913-YGR (N.D. Cal. Jan. 12, 2022), Dkt. 125 at 1. Judge Gonzalez-Rogers determined

22   that “plaintiffs have adequately alleged an injury in fact by alleging that they ‘would not have paid

23   [the purchase price or the price premium] had they known that the Baby Foods included levels of

24   Heavy Metals, perchlorate, and/or undesirable toxins and contaminants.” Id. (alteration in original).

25          Likewise, in Zeiger, the plaintiffs alleged that “[t]he Products contain[ed] ‘material and

26   significant levels of arsenic and lead,’ ‘known dangerous toxins for both humans and animals

27   1
      Other courts have permitted plaintiffs to succeed based on similar allegations supported by testing
     conducted by Consumer Reports. See, e.g., Berke, 2020 WL 5802370.
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 1   including dogs.’” 304 F. Supp. 3d at 842. The plaintiffs further alleged “the defendant knew or

 2   should have known of the presence of these contaminants, but the Products d[id] not contain any

 3   warning label or disclose the presence of these contaminants.” Id. This Court determined that the

 4   plaintiffs had alleged a “quintessential injury-in-fact” because “Plaintiffs’ claims are premised on

 5   their allegations that were it not for defendant’s labeling, which omit the presence of lead, arsenic,

 6   and BPA in their Products, plaintiffs would not have purchased and spent money on their Products.”

 7   Id. at 846.

 8           Indeed, numerous courts have held similarly when presented with analogous facts. See Berke,

 9   2020 WL 5802370, at *6 (finding an injury in fact where plaintiff alleged that “he purchased and

10   paid a premium for Starkey Water and had he known the truth [that the water contained arsenic] he

11   would not have purchased Starkey Water or paid a premium for it.”); Coffelt v. Kroger Co., 2017

12   WL 10543343, at *5 (C.D. Cal. Jan. 27, 2017) (finding an injury in fact where “Plaintiff parted with

13   money to purchase the subject vegetables” that “turned out to be adulterated and not fit for sale or

14   human consumption” and where the plaintiff “suffered an economic loss that he would not have

15   otherwise suffered had Kroger’s representations on the packaging accurately reflected the risks

16   associated with consuming their contents.”); In re Morning Song Bird Food Litig., Case No. 3:12-

17   cv-01592-JAH-AGS (S.D. Cal. Sept. 30, 2013), Dkt. 44, p. 6 (determining that “[t]he Court finds

18   Plaintiffs sufficiently allege an injury in fact to support standing” where “Plaintiffs allege they . . .

19   spent money to purchase the bird food which was worthless because it was [contaminated with

20   pesticides and] was not fit for consumption by birds.”).

21           In the face of this precedent, Defendant’s argument that Plaintiffs do not adequately allege

22   Article III standing based on a price premium has no merit. Defendant argues that “[i]t is a scientific

23   fact that herbs and spice product . . . are likely to contain trace elements of naturally occurring metals.

24   … But this scientific fact does not equate to injury….” MTD at 10. Even if Defendant’s assertion of

25   so-called “scientific fact” were cognizable on a motion to dismiss, see Williams v. Gerber Products,

26   Inc., supra, 552 F.3d at 938, Walmart misses the point. As Plaintiffs allege, quoting Consumer

27   Reports, “‘it is possible for herbs and spice companies to limit heavy metals in their products’ as

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 1   ‘[a]bout two-thirds of the spices tested did not have any concerning levels of heavy metals.’” Id., ¶

 2   22. It just so happens that Defendant’s Products were a part of the one-third whose levels of heavy

 3   metals did cause concern.

 4          Fifth, Defendant’s citations do not compel a different result. Boysen v. Walgreen Company,

 5   for example, has no applicability as the levels of lead and arsenic alleged there fell “within the FDA

 6   advisory guidelines for [the] fruit juices” at issue. 2012 WL 2953069, at *5 (N.D. Cal. July 19,

 7   2012); see MTD at 6. By contrast, Plaintiffs here allege, for example, that “[n]o amount of lead is

 8   known to be safe.” CAC, ¶ 14. As Defendant admits in its briefing, the FDA has not set guidelines

 9   for metals in herbs and spices. See MTD at 4-5.2 Thus, this case is more analogous to Zeiger, in

10   which the District Court distinguished Boysen on the same basis. 304 F. Supp. 3d at 846 (“This case

11   is distinguishable for the simple reason that the FDA has not promulgated guidelines with respect to

12   safe or acceptable levels of arsenic and lead in dog foods.”).

13          Furthermore, Koronthaly v. L’Oreal USA, Inc. is also distinguishable because there, for

14   example, the plaintiffs did not allege, as Plaintiffs do here, that they overpaid for the products at the

15   time of purchase. Compare 2008 WL 2938045, at *1 (D.N.J. July 29, 2008) with CAC, ¶¶ 5-18, 42,

16   50. Nor does Koronthaly accurately reflect the law of this Circuit, as addressed above. See, e.g.,

17   Maya, 658 F.3d at 1069 (9th Cir. 2011) (determining that “Plaintiffs’ claim that they paid more for

18   their homes than they were worth at the time of sale” was sufficient to confer Article III standing)

19   (emphasis in original).

20          In short, Plaintiffs have adequately alleged an injury in fact for standing purposes.

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26   2
       Noticeably, Defendant does not argue preemption or primary jurisdiction, and may not do so in
     reply. See Colgate v. JUUL Labs, Inc., 345 F. Supp. 3d 1178, 1196 (N.D. Cal. 2018) (citing Zamani
27   v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007)) (Orrick, J.) (“It is improper to raise a new argument in
     a reply brief.”).
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 1          B.      Plaintiffs Have Standing to Seek Injunctive Relief

 2          Defendant also incorrectly argues that “Plaintiffs also lack Article III standing to pursue

 3   injunctive relief because they fail to allege ‘actual and imminent’ and ‘certainly impending’

 4   threatened or future injury.” MTD at 11 (citations omitted).

 5          Each of the Plaintiffs allege that they “continue to desire to purchase the Product[s] from

 6   Defendant. However, [they] are unable to determine if the Product[s] [are] actually safe” and that

 7   “as long as Defendant continues to market its Product as safe, [they] will be unable to make informed

 8   decisions about whether to purchase Defendant’s Products and will be unable to evaluate the different

 9   prices between Defendant’s Product[s] and competitor’s products” and that they are “further likely

10   to be repeatedly misled by Defendant’s conduct, unless and until Defendant is compelled to ensure

11   that the Products marketed, labeled, packaged and sold as [] quality and healthy spice[s] [are], in

12   fact, [] quality and healthy spice[s].” CAC, ¶¶ 6, 8.

13          In this way, Plaintiffs’ allegations in support of their claim for injunctive relief are supported

14   by the case law in this and other courts in this District. See Brown v. Van's Int’l Foods, Inc., No. 22-

15   CV-00001-WHO, 2022 WL 1471454, at *11 (N.D. Cal. May 10, 2022) (Orrick, J.) (“Because I can

16   fairly interpret the complaint as alleging that Brown would purchase the products again in the future

17   if they were not misleadingly labeled, Brown has sufficiently alleged standing to seek injunctive

18   relief.”); see also Moore v. GlaxoSmithKline Consumer Healthcare Holdings (US) LLC, 2021 WL

19   3524047, at *5 (N.D. Cal. Aug. 6, 2021) (citing Davidson v. Kimberly-Clark Corp., 889 F.3d 956,

20   967 (9th Cir. 2018)) (finding the plaintiff had sufficiently alleged injunctive relief where “Plaintiff

21   alleges that she continues to desire to purchase the Products if they were actually natural and would

22   be unable to trust Defendant’s label representations absent injunctive relief.”); In re Bang Energy

23   Drink Mktg. Litig., 2020 WL 4458916, at *11 (N.D. Cal. Feb. 6, 2020) (same); Maisel, 2021 WL

24   1788397, at *6 (N.D. Cal. May 5, 2021) (same); Elgindy v. AGA Serv. Co., 2021 WL 1176535, at *6

25   (N.D. Cal. Mar. 29, 2021) (same).

26          Still, Defendant argues that Plaintiffs cannot possibly be deceived in the future,” because they

27   are now aware that the Products contain Heavy Metals and thus are not at risk of future harm. Not

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 1   so. See Vizcarra v. Unilever United States, Inc., 2020 WL 4016810, at *1 (N.D. Cal. July 16, 2020)

 2   (“Unilever argues that Vizcarra lacks standing to seek injunctive relief because she is now aware of

 3   the true source of the vanilla flavoring . . . Unilever’s argument fails in light of Davidson.”); Moore,

 4   2021 WL 3524047, at *6 (same); Milan v. Clif Bar & Co., 489 F. Supp. 3d 1004, 1007 (N.D. Cal.

 5   2020) (same); Ingalls v. Spotify USA, Inc., 2017 WL 3021037, at *6 (N.D. Cal. July 17, 2017) (Alsup,

 6   J.) (citations omitted) (“Such a rule would . . . in essence, give permission to defendants to continue

 7   their deceptive conduct ‘because a plaintiff who had been injured would always be deemed to avoid

 8   the cause of injury thereafter (‘once bitten, twice shy’) and would never have Article III standing.”).

 9            Defendant’s citations do not compel a different result. See MTD at 8. Lanovaz v. Twining

10   N. Am, Inc., is distinguishable for the simple reason that “Lanovaz stated that she would not purchase

11   Twinings products again[.]” 726 F. App’x 590, 591 (9th Cir. 2018). In Rodriguez v. Just Brands

12   USA, Inc., the plaintiff merely stated that “he ‘may’ purchase” the products in the future. 2021 WL

13   1985031, at *4 (C.D. Cal. May 18, 2021). Thus, Plaintiffs have Article III standing to sue for

14   injunctive relief.

15            C.     Plaintiffs Plausibly Allege Reliance on The Label’s Omission of
                     Information
16            Defendant argues that Plaintiffs cannot plausibly allege reliance on Walmart’s labeling,
17   which omitted any disclosure that the Great Value herbs contain heavy metals, because “metals are
18   naturally occurring and present across the food supply,” and as a result, “the disclosure that
19   effectively all food products ‘risk containing’ some heavy metal thus would be meaningless.” MTD
20   at 12.
21            Defendant’s argument rests on the fallacy of division. It assumes that because heavy metals
22   may occur naturally in foods and water, that its Products were naturally contaminated and that they
23   are only “trace amounts.” MTD at 12. Defendant’s framing also suggests that there is nothing that
24   can be done about such contamination, while Consumer Reports determined that “it is possible for
25   herbs and spice companies to limit heavy metals in their products’ as ‘[a]bout two-thirds of the spices
26   tested did not have any concerning levels of heavy metals.” CAC, ¶ 22.
27

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 1           But this is a factual dispute that cannot be resolved on a motion to dismiss under Rule

 2   12(b)(6). Williams, 552 F.3d at 938 (“whether a business practice is deceptive will usually be a

 3   question of fact not appropriate for decision on demurrer,” citing Linear Technology Corp. v.

 4   Applied Materials, Inc., 152 Cal. App. 4th 115, 134–35 (2007) (“Whether a practice is deceptive,

 5   fraudulent, or unfair is generally a question of fact which requires ‘consideration and weighing of

 6   evidence from both sides’ and which usually cannot be made on demurrer.”) and cases cited therein.

 7          Moreover, even if it were true that (1) heavy metals are “largely inevitable in the food

 8   supply,” MTD at 12, and (2) that consumers are aware of such a fact, assertions that cannot be proved

 9   or disproved at this stage, Plaintiffs’ claims would not be any less plausible. See, e.g., Krommenhock

10   v. Post Foods, LLC, 255 F. Supp. 3d 938, 964 (N.D. Cal. 2017) (allegedly “widely known” risk of

11   overconsuming sugar did not render misrepresentation claims implausible). Indeed, that notion is

12   belied by Plaintiffs’ consumer survey, which determined that 94% of approximately 500 consumers

13   answered that the presence or risk of even a small amount of Heavy Metals in the spices would be

14   either important or very important to their purchasing decisions. CAC, ¶ 28. Defendant’s argument

15   is also belied by several other of Plaintiffs’ allegations. See id., ¶ 4 (“No reasonable consumer would

16   know, or have reason to know, that the Products contain (or risk containing) Heavy Metals); ¶ 31

17   (“Plaintiffs and the Class members would be unwilling to purchase the Products or would pay less

18   for the Products if they knew that they contained (or risked containing) toxic Heavy Metals.”). These

19   allegations must be accepted as true. See Pagendarm v. Life Ins. Co. of N. Am., 2017 WL 6405617,

20   at *1 (N.D. Cal. Dec. 15, 2017) (Davila, J.) (“All well-pleaded facts in the complaint are accepted as

21   true for purposes of adjudicating [a motion to dismiss].”).

22          As in Zeiger, supra, which involved heavy metals in dog food, “Plaintiffs have provided an

23   actionable theory why the Products are unsafe and why the labels are misleading.” 304 F. Supp. at

24   852; see also Watson v. Solid Gold Pet, LLC, 2019 WL 3308766, at *5 (C.D. Cal. Feb. 22, 2019)

25   (allegations “that the presence of Heavy Metals [] is a material fact for a reasonable consumer when

26   purchasing the products, that she would not have purchased the products or paid a premium if she

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 1   had known about the contaminants, and that she had no way of acquiring this information on her

 2   own" were sufficient). This is all that Rule 12(b)(6) requires.

 3          D.      The Complaint States a Claim Under the UCL for Unlawful
                    Business Practices
 4
            Defendant asserts that “the Great Value herbs and spices [Plaintiffs] purchased are fully
 5
     compliant with all applicable laws,” and that the complaint therefore cannot state a claim for
 6
     “unlawful” business practices under the Unfair Competition Law (“UCL”), California Business and
 7
     Professions Code section 17200 et seq. Walmart’s framing of the “unlawful” claim is disingenuous,
 8
     because it wrongly suggests that only violations of an FDA or USDA regulation can provide the
 9
     basis for an “unlawful” claim.3
10
            As the California Supreme Court has said the UCL “borrows” violations of other laws and
11
     treats them as unlawful practices independently actionable under § 17200. Farmers Ins. Exch. v.
12
     Superior Ct., 2 Cal. 4th 377, 383 (1992). Virtually any law or regulation—federal or state, statutory
13
     or common law—can serve as predicate for a §17200 “unlawful” violation. Thus, if a “business
14
     practice” violates any law—literally—it also violates § 17200 and may be redressed under that
15
     section. People v. E.W.A.P., Inc. 106 Cal.App.3d 315, 319 (1980). Plaintiffs allege two violations
16
     of law. First, Defendant has violated the California Consumer Legal Remedies Act (“CLRA”),
17
     California Civil Code section 1750 et seq. CAC, ¶ 93.4 Second, Plaintiffs allege that Defendant’s
18
     conduct violates the Song-Beverly Act, California Civil Code section 1790 et seq., which provides
19
     requirements for consumer warranties. Id. The allegations that Defendant has violated these statutes
20
     are sufficient to support the “unlawful” claim.
21

22   3
       Noticeably, Defendant does not challenge Plaintiffs’ claims arising under the UCL’s fraudulent and
     unfair prongs. Accordingly, Defendant may not do so in reply. See Colgate, 345 F. Supp. 3d at 1196
23   (N.D. Cal. 2018) (citing Zamani, 491 F.3d at 997 (9th Cir. 2007)) (Orrick, J.) (“It is improper to raise
     a new argument in a reply brief.”).
24   4
       Among other things, the CLRA makes unlawful:
     “(5) Representing that goods or services have sponsorship, approval, characteristics, ingredients,
25   uses, benefits, or quantities which they do not have or that a person has a sponsorship, approval,
     status, affiliation, or connection which he or she does not have. …
26   “(7) Representing that goods or services are of a particular standard, quality, or grade, or that goods
     are of a particular style or model, if they are of another. …
27   “(9) Advertising goods or services with intent not to sell them as advertised.” Cal. Civ. Code §
     1770(a) .
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            E.      Plaintiffs Have Sufficiently Pled Their Claims for Breach of
 1                  Implied Warranty
 2          Defendant next argues that Plaintiffs have failed to sufficiently plead breach of the implied

 3   warranty of merchantability because they do not allege that the Products “were without the most

 4   basic degree of fitness.” MTD at 15. But this argument ignores well-settled law that permits implied

 5   warranty claims where plaintiffs allege that products are unsafe for consumption and/or

 6   contaminated with harmful substances. See, e.g., Kirchenberg v. Ainsworth, 2022 U.S. Dist. LEXIS

 7   10171, at *14-15 (E.D. Cal. Jan. 18, 2022) (“In cases involving human food . . . a party can plead

 8   that a product violates the implied warranty of merchantability by alleging that the product was

 9   unsafe for consumption, contaminated, or contained foreign objects.”) (citations omitted); Viggiano

10   v. Hansen Nat. Corp., 944 F. Supp. 2d 877, 896 (C.D. Cal. 2013) (contamination is a basis for implied

11   warranty claim).

12          Consistent with this precedent, Plaintiffs have alleged that the Products, by nature of

13   “contain[ing] (or risk[ing] containing) toxic Heavy Metals,” CAC, ¶ 141, have been thereby

14   “rendered . . . unsafe for human consumption.” Id., ¶ 41. See also, e.g., id., ¶¶ 13-15 (alleging any

15   level of consumption of lead, arsenic and cadmium is unsafe); id., ¶¶ 16-23 (discussing Consumer

16   Reports’ analyses of Heavy Metals in spice products, including Defendant’s). The Complaint is also

17   replete with allegations that Defendant’s Products include undisclosed contaminant Heavy Metals

18   that are unfit for human consumption based on the health risks. See generally id. Thus, the

19   Complaint adequately alleges that Defendant’s Products are unfit for their ordinary use. See Rice-

20   Sherman, 2020 WL 1245130, at *12 (N.D. Cal. Mar. 16, 2020) (Orrick, J.) (citing Thomas v. Costco

21   Wholesale Corp., No. 12-CV-02908-BLF, 2014 WL 5872808, at *3 (N.D. Cal. Nov. 12, 2014) (“In

22   the context of food cases, a party can plead that a product violates the implied warranty of

23   merchantability by alleging, for example, that the product was not safe for consumption, ... or that

24   the product was contaminated or contained foreign objects.”) (internal citation and quotation marks

25   omitted). Consequently, Defendant’s argument should be rejected.

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            F.      Plaintiffs Have Sufficiently Pled Their Claims for Unjust
 1                  Enrichment
 2          Defendant next argues that unjust enrichment is not an independent claim for relief under

 3   California law. MTD at 16. That contention is outdated. The Ninth Circuit has held that “the

 4   California Supreme Court has clarified California law, allowing an independent claim for unjust

 5   enrichment.” Bruton v. Gerber Products Co., 703 F. App’x 468, 470 (9th Cir. 2017) (“At the time

 6   when the district court dismissed this claim, California's case law on whether unjust enrichment could

 7   be sustained as a standalone cause of action was uncertain and inconsistent. But since then, the

 8   California Supreme Court has clarified California law, allowing an independent claim for unjust

 9   enrichment to proceed in an insurance dispute. See Hartford Cas. Ins. Co. v. J.R. Mktg., L.L.C., 61

10   Cal. 4th 988, 1000, 190 Cal.Rptr.3d 599, 353 P.3d 319 (2015); see also Ghirardo v. Antonioli, 14

11   Cal. 4th 39, 54, 57 Cal.Rptr.2d 687, 924 P.2d 996 (1996) (recognizing independent cause of action

12   for unjust enrichment relating to real estate transaction); see also Trazo v. Nestle USA, Inc., 113

13   F.Supp.3d 1047, 1049 (N.D. Cal. 2015) (“To the extent the district courts concluded that the [claim]

14   was nonsensical because it was duplicative or superfluous to [Plaintiffs’] other claims, this [was] not

15   grounds for dismissal.”). Thus, “[u]nder California law, a cause of action for unjust enrichment may

16   be pled as an independent claim” so long as there is “an actionable wrong to furnish a basis for

17   relief.” Soo v. Lorex Corp., 2020 WL 5408117, at *8 (N.D. Cal. Sept. 9, 2020); see also Kochar, et

18   al. v. Walmart, Inc., No. 3:21-cv-02343-JD, ECF No. 51, p. 1 (N.D. Cal. Filed April 25, 2022) (“The

19   factual allegations in the complaint amply satisfy Rule 8 and Rule 9(b) of the Federal Rules of Civil

20   Procedure. This is true for the unjust enrichment and quasi-contract claim, which the Court declines

21   to dismiss at the pleading stage.”).

22            To that end, Plaintiffs have sufficiently alleged a claim for unjust enrichment. Plaintiffs

23   allege that “Defendant has been unjustly enriched in retaining the revenues derived from Plaintiffs’

24   and the proposed Class members’ purchase of the Products, which retention of such revenues under

25   these circumstances is unjust and inequitable because Defendant omitted that the Products contained

26   (or risked containing) toxic Heavy Metals. This caused injuries to Plaintiffs and members of the

27   proposed Classes because they would not have purchased the Products or would have paid less for

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 1   them if the true facts concerning the Products had been known.” CAC, ¶ 170. Plaintiffs further

 2   allege that Defendant “accepted and retained” these benefits and it would be “unjust for Defendant

 3   to retain the benefit.” Id., ¶¶ 171-172. Accordingly, Plaintiffs have stated a valid claim for unjust

 4   enrichment.

 5   IV.       CONCLUSION

 6             For the foregoing reasons, the Court should deny Defendant’s Motion. However, if the Court

 7   determines that the pleadings are deficient, Plaintiffs request leave to amend to cure any such

 8   deficiencies. See Roney v. Miller, 705 F. App’x 670, 671 (9th Cir. 2017).5

 9

10   Dated: October 19, 2022                          BURSOR & FISHER, P.A.

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     5
         Plaintiffs do not oppose dismissal of their claims for negligent failure to warn.
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